CaSe 1-17-46613-nh| DOC 59-1 Filed 04/20/18 Entered 04/20/18 18226:41

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

BRACHA CAB CORP., et al.

____________________________________________ X

STATE OF NEW YORK )
) ss:
""“COUNTY OF NEW YORK )

Chapter ll

Case No.
1-17-46613 (NHL)

AFFIDAVIT OF
SERVICE

Jointly Administered

BRIAN T. MCCARTHY, being duly sworn, deposes and says:

l am not a party to this action. l am over 18 years of age. I reside Within the State of NeW

York.

On the 19th day of April 2018, l Served a copy of the Response and Objeclions to Noll`ce
of Motion With respect to the above-captioned matter upon the person listed on the

attached service list by electronic mail.

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§ in bay

 

BRIAN T. MCCARTHY

SWorn to before me this

 

chsToPHEn A. RENKE
NoTARY Pusnc, sTATE oF NEW YoRK
No. 02RE@224313
QuAuFiEo xN NAssAu couNTY
commission E)<PmEs JUNE 28, 201/5

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